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        2
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        3      Fresno, California 93755-5622
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        4
               Attorney for defendant Shirley Davidson
        5

        6

        7                   IN THE UNITED STATES DISTRICT COURT IN AND FOR

        8
                                    THE EASTERN DISTRICT OF CALIFORNIA
        9

        10

        11     UNITED STATES OF AMERICA,                 )     Case No. 1:12-cr-00168-AWI-BAM
                                                         )
        12                          Plaintiff,           )     ORDER AUTHORIZING
               v.                                        )     THE FILING OF DOCUMENTS
        13                                               )     UNDER SEAL
               SHIRLEY DAVIDSON,                         )
        14
                                                         )     (Local Rule 141)
                                  Defendant.             )
        15
               _______________________________           )
        16

        17            The Court has received the Notice of Request to Seal Documents and Request to

        18     Seal Documents of Defendant Shirley Davidson. The documents captioned Notice of

        19     Motion And Motion For A Hearing To Determine Defendant Shirley Davidson’s

        20     Competency To Stand Trial, and Exhibits 1-5 to the motion, attached as Exhibit “A” to

        21
               the Request to Seal Documents, are ordered sealed and shall be filed and maintained
        22

        23
              Order Authorizing The Filing Of Documents Under Seal; US v. Davidson, Case No. 1:12-cr-
        24
              00168 AWI/BAM                           1
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        1      under seal pending further order of this Court of the order of any higher Court having

        2
               jurisdiction over the matter. This sealing order shall be accompanied by the Stipulated
        3
               Protective Order signed by all counsel in this case.
        4
                GOOD CAUSE APPEARING;
        5

        6
               IT IS SO ORDERED.
        7
               Dated: August 15, 2013                    /s/ Lawrence J. O’Neill
        8
                                                         UNITED STATES DISTRICT JUDGE
        9

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              Order Authorizing The Filing Of Documents Under Seal; US v. Davidson, Case No. 1:12-cr-
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              00168 AWI/BAM                           2
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